Case 1:14-cv-03942-JMF Document1 Filed 06/03/14 Page 1 of 10

JUDGE FURMAN

  

Debra L. Wabnik, Esq. (dw-0944)

Stagg, Terenzi Confusione & Wabnik, LLP
401 Franklin Avenue, Suite 300

Garden City, New York 11530 .
(516) 812-4500

dwabnik@stcwlaw.com :
ECEIVE

Attorneys for Plaintiffs
Amy Ingber, Berta Morales, Leeana Koznesoff,

Natalya Sokolson, Richard Sanjamino, JUN 03 2014
Scott Krefetz and Victor Vargas

 

 

 

 

 

U.S.D.C, 8.10. N.Y,

UNITED STATES DISTRICT COURT CASHIERS
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

x
AMY INGBER, BERTA MORALES, LEEANA Civil Docket No.:
KOZNESOFF, NATALYA SOKOLSON,
RICHARD SANJAMINO, SCOTT KREFETZ
AND VICTOR VARGAS,
Plaintiffs,
- against - COMPLAINT AND
JURY DEMAND
THE NEW YORK CITY DEPARTMENT
OF EDUCATION and CHANCELLOR CARMEN
FARINA,
Defendants.
xX

 

Plaintiffs Amy Ingber, Berta Morales, Leeana Koznesoft, Natalya Sokolson, Richard
Sanjamino, Scott Krefetz, and Victor Vargas (collectively referred to as “Plaintiffs”), by and
through their attorneys, Stagg, Terenzi, Confusione & Wabnik, LLP, as and for their complaint
against defendants New York City Department of Education (“DOE”) and Chancellor Carmen
Farina (“Chancellor”) (collectively referred to as “Defendants”), respectfully allege as follows:

THE PARTIES

I. Plaintiff Amy Ingber resides at 5 Beltane Drive, Dix Hills, New York 11746.
Case 1:14-cv-03942-JMF Document1 Filed 06/03/14 Page 2 of 10

2. Plaintiff Berta Morales resides at 143 East Main Street, Bergenfield, New Jersey

07621.

3, Plaintiff Leeana Koznesoff resides at 17-15 Yale Road, Merrick, New York
11566.

4. — Plaintiff Natalya Sokolson resides at 161 Hickory Avenue, Staten Island, New
York 10305,

5. Plaintiff Richard Sanjamino resides at 75-30 Juniper Boulevard South, Middle
Village, New York 11379.

6, Plaintiff Scott Krefetz resides at 144-11 29th Road, Flushing, New York 11354.

7, Plaintiff Victor Vargas resides at 60 Dawson Avenue, Clifton, New Jersey 07012.

8. Plaintiffs are tenured teachers pursuant to the New York State Education Law and

employed by the DOE.

| 9. Defendant DOE is the official body charged with responsibility for developing
policies regarding the administration and operation of the public schools in the City of New
York.

10. Defendant Carmen Farina is the Chancellor of the New York City School District
{the “Chancellor”) and is entrusted with specific powers and duties set forth in the Education
Law. Dennis Walcott was the Chancellor’s predecessor.

JURISDICTION AND VENUE

11. This Court has jurisdiction over this matter in controversy pursuant to 28 U.S.C. §

1331, as this matter involves federal questions under 42 U.S.C. § 1983, and the Fourth and

Fourteenth Amendments of the United States Constitution, The Court also has jurisdiction
Case 1:14-cv-03942-JMF Document1 Filed 06/03/14 Page 3 of 10

under 28 U.S.C. § 1343(a), in that claims are asserted under laws providing for the protection of
civil rights. Plaintiffs also seek declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202.

12. The Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant
to 28 U.S.C. § 1367 because the state claims are so related to the federal claims that they form a
part of the same case or controversy between Plaintiffs and Defendants. |

13. Venue is proper under 28 U.S.C. § 1391(b).

14. If successful, Plaintiffs are entitled to attorneys’ fees and costs pursuant to 42
U.S.C. § 1988 and 20 U.S.C. § 1415.

RELEVANT PROCEDURAL BACKGROUND

15. Pursuant to the Section 3020-a of the New York State Education Law (“Education
Law”), to discharge a tenured teacher employed by the DOE, an administrator (such as the
Chancellor} may initiate charges against that teacher, claiming misconduct or incompetency,

16. The employing board of the DOE (“Employing Board”) must be immediately
notified of the charges.

17. Pursuant to Education Law § 3020-a(2)(a), within five days after receiving the
charges, the Employing Board, in an executive session, must determine by a vote of the majority
of all the members whether probable cause exists to bring a disciplinary proceeding against the
teacher.

18. Ifthe Employing Board determines that probable cause exists, then the teacher
must be served with the formal charges. If the Employing Board determines that probable cause
does not exist, the charges are not served on the teacher, and the teacher may continue in the

teacher’s current position, as if the charges were never brought.
Case 1:14-cv-03942-JMF Document1 Filed 06/03/14 Page 4 of 10

19. When the Employing Board does determine that probable cause exists and the
teacher is served with the formal charges, that teacher has two options: (a) accept the charges and
penalties levied, or (b) request a hearing before an arbitrator who will determine whether the
charges filed against the teacher should be sustained, and if so, the penalty for any sustained
charges.

FACTUAL ALLEGATIONS
‘20. The principals of Plaintiffs’ respective schools brought charges against each
respective Plaintiff, requesting that each Plaintiff be discharged based on either misconduct or
incompetency.

21. An attorney for the DOE oversaw the writing and service of each Plaintiff's

charges.

22. The charges were purportedly brought pursuant to Section 3020-a of the
Education Law.
23. The Notice of Determination of Probable Cause for each Plaintiff states:
Please be advised that at a meeting in executive
session on the above date the school district
identified herein has found that there is probable
cause for Education Law Section 3020-a charge(s)
against you.
24, In each instance and in direct violation of the Education Law, the Employing
Board (which in New York City is the Panel For Educational Policy (“PEP”)) did not meet in

executive session and did not vote to determine whether probable cause existed to bring a

disciplinary proceeding against Plaintiffs. The date of the purported executive session is left

blank.
Case 1:14-cv-03942-JMF Document1 Filed 06/03/14 Page 5 of 10

25. Instead, the very principal who brought the charges against the respective
Plaintiffs was also charged with the power to determine whether probable cause existed, and in
each instance, the principal determined that probable cause existed.

26. This process adopted by Defendants --having the principal and the DOE’s
attorneys rather than the Employing Board determine whether probable cause exists -- directly
violates the procedures set forth in the Education Law. Specifically, that process violates the
statutory mandate as to who is required to determine whether probable cause exists (it is
supposed to be the Employing Board, not the principal or attorneys working for the DOE) and
how that determination is made (it is supposed to be by majority vote of all of the members of
the Employing Board in executive session, not a decision made by one individual outside of any
executive session),

27. This process also violates the due process rights of Plaintiffs.

28. As a result, Plaintiffs were all served with charges of misconduct and/or
incompetency, which carried the penalty of discharge. Plaintiffs all elected to have a hearing on
the charges.’

29. After receiving the charges, each Plaintiff was relieved of his or her current
classroom duties, and directed to appear for work each day and sit in a room without any
professional duties to complete while they wait for the hearing to be scheduled and conducted,
and a determination to be made.

30. By having formal charges filed against them, being relieved of their classroom
duties and relegated to sitting in a room without anything professional to do for several months,

Plaintiffs are marked with a stigma.

 

' Plaintiff Richard Sanjamino’s 3020-a hearing commenced on October 8, 2013 over Mr. Sanjamino’s objection.
The next hearing date is unknown at this time. Plaintiff Natalya Sokolson’s hearing had closing arguments on May
20, 2014, The remaining Plaintiffs have not yet begun their hearings.

5
Case 1:14-cv-03942-JMF Document1 Filed 06/03/14 Page 6 of 10

31. The other teachers, administrators, staff and students of the school know or will
eventually learn that charges were filed against Plaintiffs, causing them to be ostracized and
stigmatized.

32. By having formal charges filed against them, Plaintiffs either have to accept the
charges and penalties, or be subjected to the hearing process, where they have to defend against
the charges filed against them. Plaintiffs should not be subjected to such a penalty without
having proper review and due process of the charges filed against them.

33. By being relieved of their classroom duties and having no professional
responsibilities, Plaintiffs lose the chance to continue to develop and hone their professional
skills--the craft of teaching.

34. In addition, salary bonuses, per session payments, pension and salary steps are
frozen causing damages not only to reputation but to earning a livelihood.

35. | Upon information and belief, after the charges were filed against Plaintiffs, the
DOE placed a mark or “red flag” next to their names, commonly known as a “problem code,”
which prevent Plaintiffs from being able to successfully find another job as a teacher.

36. Upon information and belief, even if Plaintiffs succeed at a hearing and have the
charges dismissed, the fact that such charges were filed against them will remain in their

personnel file and will otherwise affect their ability to obtain employment as a teacher in the

future.

37. Further, even if the charges are dismissed, Plaintiffs will not be restored to their
previous positions, but rather will be placed into the DOE’s substitute pool known as the Absent
Teacher Reserve (“ATR”). Instead of reporting to the school at which they had been performing

their teaching duties, they will be notified on a weekly basis as to which various schools to
Case 1:14-cv-03942-JMF Document1 Filed 06/03/14 Page 7 of 10

report. They will each lose any building seniority they have accrued and other rights and
privileges.
AS AND FOR PLAINTIFFS’ FIRST CLAIM

(Violations of the Fourth and Fourteenth Amendments’ Due
Process Clause of the United States Constitution and 42 U.S.C. § 1983)

38. Plaintiffs repeat and reiterate all allegations made in the preceding paragraphs as
if set forth fully herein. Defendants’ subjecting of Plaintiffs to the harm described above has
caused them severe emotional distress and humiliation.

39. The Education Law directs that before Plaintiffs have to suffer the
aforementioned harm and deprivation associated with having charges filed against them, they are
to be afforded the due process of having the Employing Board determine by majority vote of all
of the members during an executive session that probable cause for those charges exist

40. The due process mandated by the Education Law is designed to prevent tenured
teachers from having to be subjected to formal charges and the harm and deprivation associated
with having charges filed against them when the filed charges are false or based on insufficient
evidence, discriminatory reasons, petty personality conflicts, or any other insufficient or
unsubstantiated reasons, as the Employing Board has the power and responsibility to review the
charges and determine whether probable cause exists. °

41. | The DOE’s actions of ignoring the due process mandate of the Education Law by
having the principal both file the charges and determine whether probable cause for the charges
exist, violates Plaintiffs’ procedural due process rights afforded to them by the Fourth and
Fourteenth Amendments of the United States Constitution.

42. . As described above, the violation of Plaintiffs’ due process rights damaged and

continues to damage Plaintiffs.
_ Case 1:14-cv-03942-JMF Document 1 Filed 06/03/14 Page 8 of 10

43. Accordingly, Plaintiffs request judgment in favor of each one of them and against
the DOE in a sum to be determined at trial, but not less than $1 million, together with such other
and further relief as this Court deems just and proper.

44, In addition, Plaintiffs seek a declaratory judgment that the DOE’s failure to
comply with the provisions of Education Law § 3020-a is in violation of the due process clause
of the Fourth and Fourteenth Amendments to the United States Constitution, and 42 U.S.C §
1983.

AS AND FOR PLAINTIFFS’ SECOND CLAIM
(Violation of New York State Constitution, Article I, Section 6)

45. Plaintiffs repeat and reiterate all allegations made in the preceding paragraphs as
if set forth fully herein.

46. The DOE’s actions of violating the due process mandate of the Education Law by
having the principal both file the charges and determine whether probable cause exists for the
charges, violates Plaintiffs’ procedural due process rights afforded to them under Article 1,
Section 6 of the New York State Constitution.

47, Accordingly, Plaintiffs request judgment in favor of each of them and against the
DOE in a sum to be determined at trial, but not less than $1 million, together with such other and
further relief as this Court deems just and proper.

48. In addition, Plaintiffs seek a declaratory judgment that the DOE’s failure to
comply with the provisions of Education Law § 3020-a is in violation of the due process clause

of Article 1, Section 6 of the New York State Constitution.
Case 1:14-cv-03942-JMF Document1 Filed 06/03/14 Page 9 of 10

AS AND FOR PLAINTIFFS’ THIRD CLAIM
(Declaratory Judgment, Preliminary and Permanent Injunction)

49. Plaintiffs repeat and reiterate all allegations made in the preceding paragraphs as
if set forth fully herein.

50. Plaintiffs were not afforded the due process rights mandated by the Education
Law when the DOE allowed the principal to both file the charges and determine that probable
cause exists for those charges.

51. Plaintiffs should not have been removed from their classrooms, and should not be
subjected to a hearing and the related processes of having charges served against them without
affording Plaintiffs the pre-deprivation due process rights mandated by the Education Law and
required by the Fourth and Fourteenth Amendments of the United States Constitution and New
York State Constitution.

52. Plaintiffs have no adequate remedy at law. Unless the DOE is compelled to
return Plaintiffs to their classrooms, and is preliminarily and permanently restrained from
proceeding with the 3020-a hearings, Plaintiffs will continue to suffer immediate and irreparable
harm from the conduct of which they complain.

53. The harm caused by forcing Plaintiffs to be subjected to a hearing for charges that
may have been dismissed through the proper application of Plaintiffs’ due process rights cannot
be fully remedied by a monetary award. Plaintiffs must not be forced.to go through the hearing
process unnecessarily, as the process is a punishment, in and of itself.

54. Based on the foregoing, Plaintiffs respectfully request an order declaring that they
be returned to their classrooms, and preliminarily and permanently enjoining Plaintiffs’ 3020-a

hearings because of the DOE’s violation of Plaintiffs’ due process rights.
Case 1:14-cv-03942-JMF Document1 Filed 06/03/14 Page 10 of 10

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that they be awarded judgment:

(1) on the first claim in an amount to be awarded at trial, but not less than $1

million per Plaintiff, together with any such other or different relief as this Court deems just and

proper;

(2) on the second claim in an amount to be awarded at trial, but not less than $1

million per Plaintiff, together with any such other or different relief as this Court deems just and

proper;

(3) on the third claim to permanently enjoin the DOE from conducting hearings

on the charges filed against Plaintiffs, together with any such other or different relief as this

Court deems just and proper; and

(4) for attorneys’ fees and costs incurred in this matter,

Dated: Garden City, New York
June 2, 2014

10

Respectfully submitted,

Stagg, Terenzi, Confusione & Wabnik, LLP

Aba A oD ibe

Debra L. Wabnik (dw-0944)

Attorneys for Plaintiffs

Amy Ingber, Berta Morales, Leeana
Koznesoff, Natalya Sokolson, Richard
Sanjamino, Scott Krefeiz and Victor Vargas
401 Franklin Avenue, Suite 300

Garden City, New York 11530

(516) 812-4500

 
